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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NEW YORK

 

Darryl Augustus Allen

Plaintiff, -CV-

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a w

V.
City of Rochester, Mike C. Green, Virgil Ross, jr,.
Maria Graves, Lori Bishop, Mike Fantigrossi,
Daniel Holmsten. COMPLAINT
l JURY TRIAL DEMANDED
__7 Defendants.
l

 

This Court has jurisdiction for deprivation of a constitutional right under color of State law.
This Plaintifi’ s l4‘h, amendment constitutional civil rights Were violated to equal protection
under the law, fair treatment, procedural due process ri ghts, and other wrongs including

conspiracy.

The Plaintiff herein, complains of the defendants above named, and for its cause of action

alleges:

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I. INTRODUCTION

l.) Section 1983 was enacted on April 20, 1871 as part ofthe Civil Rights Acts of 1871 ,
and is also known as the “Ku Klux Klan Act” because one of its primary purposes was to provide
a civil remedy against the abuses that were being committed in the southern states,
especially by the Ku Klux Klan. While the existing law protected all citizens in theory, its
protection in practice was unavailable to some because those persons charged with the
enforcement of the laws were u_nab_le_ or unwilling to do so.

2.) This is a Pro se action for money damages and possible injunctive relief, brought on
behalf of Darryl Augustus Allen who sought to commence a criminal action, filed with a
local criminal court, which charges one or more defendants with the commission of one or
more felonies. But, the Monroe County District Attomey’s Office under the authority of
Mike C. Green and the Rochester Police Department as co-defendants and co-conspirators
intentionally deprived me my procedural due process rights to commence a criminal action
and violated my fourthteenth amendment constitutional civil rights for fair treatment and equal
protection under the law. These acts were done under color of State law.

3.) Calls for police service were falsified at the data source by the Rochester Police
Department. The defendants tampered with public records twice and made false entries,
one being defamatory. Section 175.25, tampering with public records in the first degree is a class
D felony. My goal was to commence a criminal action on both dates and exercise my
constitutional rights through procedural due process. All defendants are employed in the City of

Rochester and their employment addresses are on the final page ofthis lawsuit.

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4.) This plaintiff called 911 on October 30, 2005 to make a felony complaint against
two people. These two people lied and made defamatory statements against me and ruined my
professional counseling career. The 911 operator sent police officer Virgil Ross to my house.
Defendant Ross wrote a few names down, but refused to take my felony complaint or give me his
full name when asked. Defendant Ross was shown two letters written to defendant District
Attomey, Mike Green from me. Defendant Ross said he would contact me on October 31, 2005,
but never did. This plaintiff received a letter from defendant Green on November 4, 2005 dated
l l/ l/05. After receiving this letter from defendant Green. This plaintiff attempted to contact
defendant Ross, but a person on the phone stated he was unavailable This plaintiff left his name
and phone number, but no return call from defendant Ross or anyone else from the Police Dept.

5.) Although, the Supreme Court has attempted to balance the police power of the
government and individual rights, if there is a conflict, the constitutional rights as interpreted
by the U.S. Supreme Court takes precedence Defendant Ross allowed his personal feelings
to override his sworn duty as an agent of the law and U.S. Constitution.

6.) Defendant Green sent his first and last letter, ever, dated November 1, 2005. Two days
after defendant Ross was at my house on October 30‘h. This plaintiff was sending defendant
Green information about the felonies since January 2005. Defendant Green assigned an
investigator from the District Attomey’s Office in March 2005 named Mike Fantigrossi.
According to a source from the DA’s Office, an Assistant District Attomey was to contact me.
But, in place came defendant Fantigrossi, which was to discourage me and give up.

Similar tactics were used by defendant Maria Graves, except hers were criminal, which

will be explained later in this lawsuit.

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7.) Meanwhile, leading up to November 1, 2005, no report or findings were ever
mentioned or presented about the investigation Afier talking with defendant Fantigrossi several
times by phone, he heard my frustration “It’s political,” defendant Fantigrossi said.

8.) This was the first time that the Rochester Police Department were involved
and the first time defendant Green corresponded with me. Each of the defendants caused, and is
legally responsible for the below described unlawful conduct and resulting injuries by, among
other things, personally participating in the unlawful conduct or acting jointly or conspiring with
others who did so; by authorizing, acquiescing in or setting in motion policies, plans or actions
that led to the unlawful conduct; by failing to take action to prevent the unlawful conduct;
by failing and refusing with deliberate indifference to plaintiffs rights to equal protection
under the law, fair treatment, and the right to file a criminal complaint against
a person who committed a crime against another; procedural due process rights through
the New York State Court System was intentionally avoided and violated. The defendants
conspired and cheated this plaintiff out of his guaranteed constitutional civil rights.

The defendants never contacted this plaintiff again. It was a systematic block and

going by the District Attomey’s letter dated 11/01/05. The theory was further confirmed after
the natural experiment of the second procedural due process rights deprivation was
intentionally done by the Rochester Police Department, which is on public record.

9.) Therefore, this plaintiff started the F ederal Court lawsuit in November 2005
against my former employers, Pre-Trial Services Corporation. This was a direct result
ofmy constitutional rights being deprived illegally and unconstitutionally by public officials.

Prior to F ederal Court, this plaintiff spent over one year pleading my non-hearsay physical

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evidence to a person that had the authority and resources to do something legally, but didn’t.
10.). Defendant Green was M or unwilling to prosecute the two white administrators,
despite physical evidence; 2.) Defendant Green assigned an investigator but no evidence or
findings that an investigation ever occurred.; 5.) Defendant Green never contacted or responded
to this plaintiff s letter dated November 5"‘, defendant Ross’ unconstitutional behavior;
According to the'law and “Investi gator Fantigrossi”, this plaintiff holds enough felony evidence
to commence a criminal action. These defendants have committed serious crimes to try and stop
me by their own process.
ll.) Almost every certified document sent to defendant Green from 2005 until
November 2005 directly mentioned perjury and tampering with physical evidence
Defendant Green was informed about the felonies in January 2004. Defendant Green
made no attempts to contact me about anything until the Rochester Police were involved
on 10/30/05. Defendant Mike Fantigrossi is included in his official duty and/or capacity
as a defendant herein this lawsuit because there was no investigation record or findings
of an investigation, to the best of my knowledge
12.) Defendant Green is responsible in his official capacity as commander of authority and
policy maker “under color of State law” to be liable for this plaintiffs injuries and damages.
13.) Defendant Fantigrossi suggested civil action against Pre-Trial Services Corporation.
Pre-Trial committed serious crimes against me. This plaintiff wants to press charges against
them, but the defendants deprived me my ri ghts. None of the Courts even mentioned the word
perjury or tampering with physical evidence until Federal Court, “They usually don’t do these
kinds of crimes", defendant Fantigrossi said.There felonies and they’re in the penal law. l Want

something done. There was a brief and vague mention about the police between defendant

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Fantigrossi and this plaintiff, but nothing else This plaintiff didn’t trust the Rochester Police
Department and for good reason.

14.) You’re the investigator and I have the evidence Do you need me to send in the court
transcript or other evidence? “No, that won’t be necessary, I have enough here”, defendant
Fantigrossi said, Are you sure? I can send you more “Wait, hold on let me find it, here it is”,
defendant Fantigrossi said, Defendant Fantigrossi was referring to the information sent by
certified mail dated March 30, Finally, defendant Fantigrossi said, “Get back to me in a couple of
months, let me know what’s going on with the Court of Appeals”. This plaintiff contacted him in
June and no change

15.) The felonies have been covered-up or ignored since being reported in April 2004.

An entire Appellate Division with 3-motions denied to the Court of Appeals and no legal
explanation, despite physical evidence that a crime occurred. This plaintiff doesn’t need
authority to know that somebody violated my rights and the law. Second, the District Attomey’s
Office had enough evidence and did nothing. Third, the Rochester Police Department refused to
take two felony complaints and tampered with public records that are felonies. Further, libel per
se that is actionable in itself, requiring no proof of special damages One of the false entries put
on the tampered public records was defamatory on its face “Mental groblem”.

16.) My professional career is a professional counselor at the Master’s degree level. This
plaintiff has worked in the community with mental disorder clients’ and this false statement
continues to be on public record. This statement is defamatory in and of itself and is not capable
of an innocent meaning The defendants did this statement intentionally and illegally. The
defendants attempted to conceal their illegal actions, but the Freedom of lnformation Act

prevented it. The defendants are guilty of malice exception A limitation on a public official’s

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qualified immunity, by which the official can face civil liability for willfully exercising discretion
in a way that violates a known or well-established right. This plaintiff sent the defendants
information about Federal Court, informing them that this plaintiff wasn’t stopped by their
unconstitutional actions. The defendants set in motion the Federal Court complaint both times.

17.) Meanwhile, during the pending F ederal Court case# 05-CV-6675, which was
dismissed 9- months later, due to a private agency, lack of jurisdiction and failure to state a cause
of action. This plaintiff attempted a second felony complaint on May 31, 2006 to the Rochester
Police Department. My constitutional rights were deprived again by a 311 police officer named
Maria Graves. Defendant Graves refused to listen or send an officer to my house But, insisted
this plaintiff deal with defendant Ross as the only police source Defendant Graves insisted that
the policy was to deal with the same officer that violated my constitutional rights. This plaintiff
refused defendant Graves policy demands, which is on the 31 1 transcript dated May 31, 2006.

18.) Defendant Graves connected me to a false police investigator, instead of
sending an officer to my house Defendant Graves read a phone number for a police investigator
then this plaintiff called it. Defendant Graves was misleading and a liar.

19.) This plaintiff informed the female at this number that I was to talk to an investigator.
“Yes”, she said. This plaintiff immediately asked her position or title and name, then she
admitted being only a Police Information Clerk for defendant Sgt. Lori Bishop, the supervisor for
defendant Ross. The female identified herself as Pat. Defendant Pat also attempted to persuade
me to deal with defendant Ross, again. But, this plaintiff refused to and repeated what was said
to defendant Graves. However, defendant Pat did give me defendant Ross’ supervisor’s name
and address, which was defendant Sgt. Lori Bishop at 185 Exchange Boulevard. This plaintiff

sent a second letter to both defendants Virgil Ross and Sgt. Lori Bishop dated May 31, 2006.

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Finally, there has never been a response from defendant Bishop, ever. Therefore, defendant
Bishop was approving the unconstitutional policy as policy-maker and supervisor.

20.) lt was discovered on September 13, 2006 that the Rochester Police Department
tampered with my public records. This plaintiff showed Joe Fratta, Communications/ access
records for City Hall. Mr. Fratta didn’t have an answer and appeared puzzled, but knew the
public records were tampered with. Felony complaints were called in both times, but no record
showed them. The same code and information procedure should have been recorded by law but
wasn’t. The public records were tampered with on both 10/30/05 and 5/31/06. This plaintiff
immediately requested the names of the operator(s) and supervisor(s) from both dates. This
requested Was done on September 29, 2006 and received by Gary G. Walker, Records Access
Officer on 10/20/06.

21.) Meanwhile, on October 10, 2006 at City Hall, this plaintiff informed Joe Fratta

that l wanted the 911 tapes only and not the 911 operators subjective view, which was inaccurate

Joe Fratta stated that the PATS inquiry system said there was no record from 05/31/06
31 l systems “But there’s got to be some kind of record from 311”, Joe Fratta, said. This plaintiff
agreed and asked if I needed to fill-out another 911 application for the information “No, I’ll just
add it to the original application”, Joe Fratta, said. He was writing on a notepad.
Note: see PATS inquiry letter dated 10/11/06.

22.) Joe Fratta phoned me on 10/20/06 excited, informing me that Gary G. Walker,
Records Access Officer located the records. This plaintiff immediately went to City Hall to pick
them up and thanked him. The public records cover-up was clear. The same 91 1/31 l operator
and supervisor worked both dates. The operator who took both calls was defendant Maria Graves.
The supervisor during both calls was defendant Sgt. Daniel Holmsten. The Rochester Police

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Department tampered with public records on 10/30/05 and 05/31/06, by putting false written entries
to conceal my felony complaint records. The Rochester Police Department committed
two class D-felonies by tampering with public records twice, then attempting to cover-up their
actions. Note: listen to 311 tape or read transcript from 05/31/06 in [Exhibit-C].

23.) Law enforcement officials willing to commit felonies and misdemeanors,
“under color of State law” to prevent a black person from getting their guaranteed constitutional
civil rights is unconstitutional and criminal.

24.) On 11/06/05, three white Rochester Police Officers responded to a fight call,
which was false But, they responded. However, the Rochester Police Department never
contacted me again afier defendant Ross’ unconstitutional conduct. The defamatory information
on public record could have caused me serious injury or death. Three white police officers
responding to a fight with the public record reading “Mental roblem”, could have justified a lot,
particularly, if the citizen is a black male against three white police officers. Felonies committed by
the Rochester Police Department and cover-ups wouldn’t have given this plaintiff a chance This
plaintiff was home alone in bed and my dog started barking at the police This plaintiff informed the
police that the fight call was false But, on the public record, it reads as if there was a fight and
everything is “All O.K.”. The public record should have read “false call”, which was accurate

25.) This policy has been aimed at blacks to discourage reporting crimes.
Crimestoppers encourages individuals to call in with information regarding felony crimes and
wanted felony fugitives in the Rochester area. But, with police officers tampering with public records

and concealing information, citizens will be suspect. Blacks are suspect of police in general.

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26.) Meanwhile, this plaintiff has direct evidence that several felonies were committed

against me and can openly identify the two individuals, but law enforcement officials attempted to

conceal it by committing more felonies.

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II. JURISDICTION
This action is brought pursuant to Title 42 U.S.C. Sections 1983, 1985, 1986 and the New York
State Constitution. Jurisdiction is based on 28 U.S.C. 1343 and the aforementioned federal
statutes.
III. PARTIES
This plaintiff at all times relevant was and is a resident of the State of New York.
The Defendants.
28.) City of Rochester is a local government and municipal entity in the State of
New York and is sued. 29.) Defendant Mike Green is and was at all times applicable
herein the District Attomey of Monroe County in the City of Rochester. He is sued
in his individually and official capacity. He is charged with the responsibility
for selecting, training, assigning, administering supervising and controlling all law
enforcement officers and employees under his command at the District Attomey’s
official and unofficial policies. And joined in the illicit, unconstitutional policies of the
City of Rochester that caused the injuries and deprivations complained of herein.
All done under color of State law.
30.) Defendant Virgil Ross is a Rochester Police Officer responsible for taking the
felony complaint, which did not occur. He is sued in his individually and official
capacity. He refused to take the felony complaint under color of State law and deprived

my fourthteenth amendment procedural due process rights and made a defamatory public

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statement against me He was responsible for tampering with public records. He never
contacted me again. And joined in the illicit, unconstitutional policies of the City of
Rochester that caused the injuries and deprivations complained of herein.

All done under color of State law.

31 .) Defendant Maria Graves is a Rochester Police Officer 911/311 operator and was
responsible for taking both calls on 10/30/05 and 05/31/06. She is sued in her
individually and in her official capacity. She was responsible for tampering with

public records. She was responsible for refusing to have a police officer come to

my house on 05/31/06. She was responsible for misleading and lying under color of State
law and making a defamatory public statement against me. She deprived me my
fourthteenth amendment procedural due process rights. And joined in the illicit,
unconstitutional policies of the City of Rochester that caused the injuries and deprivations

complained of herein. All done under color of State law.

 

32.) Defendant Lori Bishop is a Rochester Police Officer rank Sgt. and the supervising
police officer for defendant Virgil Ross. She is sued in her official capacity.

She was given a minimum of two complaint notices about police officer Virgil Ross,

but failed to respond. The complaint notices featured unconstitutional behavior by
defendant Ross , as well as, a possible postdeprivation remedy. Therefore, defendant Lori
Bishop was personally involved in the violation or knowingly, willfully, or recklessly
caused the deprivation of the constitutional right and is thereby liable as the supervisor.
And joined in the illicit, unconstitutional policies of the City of Rochester that caused

the injuries and deprivations complained of herein. All done under color of State law.

33.) Defendant Daniel Holmsten is a Rochester Police Officer rank Sgt. and the

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supervising police officer for defendant Maria Graves. The supervisor during

both calls on 10/30/05 and 05/31/06 taken by defendant Maria Graves. He is sued

in his official capacity. As supervisor, he was responsible for tampering with public
records. He was responsible for refusing to have a police officer come to my house on
05/31/06 to make a felony complaint. He deprived me my fourthteenth amendment
procedural due process ri ghts. As supervisor, it was his responsibility to oversee
defendant Maria Graves and that she was abiding by the Constitution and penal law.
And joined in the illicit, unconstitutional policies of the City of Rochester that caused

the injuries and deprivations complained of herein. All done under color of State law.

 

34.) Defendant Mike Fantigrossi is an investigator for the Monroe County District
Attomey’s foice in the City of Rochester. He is sued in his official capacity.

He was responsible for investigating my felony complaint and assigned by

defendant Mike Green. No results or conclusions came about the investigation

and it was intentionally avoided. And joined in the illicit, unconstitutional policies

of the City of Rochester that caused the injuries and deprivations complained of herein.
35.) Defendant Pat (Jane Doe) is a Police Inforrnation Clerk for defendant Sgt. Bishop.
Her full name will be identified; She is sued in her official capacity.

She was part of a scheme set-up by defendant Maria Graves to mislead me.

She was impersonating an investigator from the Rochester Police Department.

After her cover was blown, she quickly wanted to get off the phone She was part of
the conspiracy that deprived me my constitutional ri ghts. And joined in the illicit,
unconstitutional policies of the City of Rochester that caused the injuries and

deprivations complained of herein.[Note: On l 1/21/06 Joe Fratta was requested to get

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IV.

defendants full name for lawsuit.][On 11/27/06 Joe Fratta is awaiting defendants name.]
[On 12/01/06 Joe Fratta stated the Rochester Police have not responded as of yet, but he
intends to investigate today 12/01/06 and send me the request in writing.] [On 12/14/06
Joe Fratta stated the Rochester Police Department have not responded to either request.
“I intend to call the Law Department and find out what’s going on”, Joe said. Joe told
me to contact him on Monday 12/18/06.] Note: mystery defendant will be excluded
from this lawsuit without full name and actual individual verified. But, this

section will remain untouched and documented. Shielding the mystery defendant
from detection does not change the facts mentioned. Defendants Bishop and Graves
will have to explain to a F ederal Judge or jury at trial.

CONSPIRACY

This plaintiff charges that some or all of the defendants engaged in an unlawful
conspiracy in that they arrived at an understanding and meeting of the minds

whereby law enforcement officials tampered with public records to conceal two felony
complaints, refused and deprived this plaintiff the freedom and liberty to file or

make an accusatory instrument with the Rochester Police Department and the

District Attomey’s Office against two white administrators To effectuate this
unlawful objective, the conspirators determined that discouraging and falsifying
public records would conceal my felony complaints To prevent the freedom and
liberty constitutionally protected by the fourthteenth amendment, the conspirators
interfered with this plaintiff s procedural due process ri ghts, equal protection under

the law, fair treatment and other wrongs The police actions and conduct described

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above were meant to chill and deter future complaints and generally show this
plaintiff“Who’s boss” in Rochester.
POLICY
The constitutional and criminal violations suffered by this plaintiff as described
herein were directly and proximately caused by unspoken, unconstitutional policies
of the defendant City of Rochester and carried out by public officers, particularly,
defendant Mike Green, District Attomey, by directives, acts and omissions of
authorized policy maker. Thus the constitutional and criminal violations to this
plaintiff that have occurred for over one year described herein were directly and
proximately caused by the acts that have been deliberately ignored. The Rochester
Police Supervisors deliberately ignored and failed to supervise and control such
officers so as to prevent constitutional and criminal violations
Further, law enforcement officials deliberately undermined and stultified the
citizens complaint process Law enforcement officials were aware and notified
several times about the violations But, the defendants did nothing to remedy
these evil practices As a direct and proximate result of the conduct and unspoken
policy of defendants described herein their failure to take reasonable steps to remedy
the pattern and practice of police misconduct, and their deliberate indifference to this
plaintiffs rights, which were denied several times, This plaintiff has suffered, and
continues to suffer mental and emotional distress, humiliation, embarrassment,
discomfort, anxiety, loss of a professional career, and other harm.

VI. OTHER WRONGS

36.) 175.25 Tampering with public records in the first degree

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Vll.

Tampering with public records in the first degree is a class D-felony (2) counts
37.) Title 18 Section 242 requires that the federal prosecutor introduce evidence to show
that the person charged was acting under color of law, that there was a deprivation
of rights protected by the Constitution or laws of the United States, and that the
defendants acted willfully or intentionally to deprive a person of their rights
38.) Article I New York State Bill of Rights-Equal protection of laws discrimination
in civil rights jrohibited sec.l 1.
39.) Article I New York State Bill of Rights-Criminal prosecution for libel sec.8.
115.00 Criminal facilitation in the fourth degree
Criminal facilitation in the fourth degree is a class A-misdemeanor.
40.) 105.5 Conspiracy in the fifth degree
Conspiracy in the fifth degree is a class A-misdemeanor.
41 .) 205.55 Hindering prosecution in the third degree
Hindering prosecution in the third is a class A-misdemeanor.
Impersonating a Police Investigator & Police Information Clerk.
CLEARLY ESTABLISHED RIGHTS
The constitutional rights, which this plaintiff accuse defendants of violating herein,
to wit: the right to procedural due process under the Due Process Clause, fair treatment
and equal protection were Clearly Established under the law at the time of the events
complained of. Defendants thus have no excuse or justification for the alleged violations,
and no qualified immunity, Particularly, with the malice exception.-A limitation on a

public official’s qualified immunity, by which the official can face civil liability for

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willfully exercising discretion in a way that violates a known or well-established right.
Therefore, suit seeking redress is applicable under the law.
Vlll. PUNITIVE DAMAGES
ln engaging in the above conduct, defendants acted with malice and oppression,
and indifference to this plaintiff s rights, thus entitling this plaintiff to punitive
damages against defendants
IX. COMPENSATORY DAMAGES
Section 1983 plaintiff who asserts a claim against a municipality, and who proves a
violation of a federal right attributable to the enforcement of a municipal policy, or
custom, may not be denied compensatory damages or equitable relief. Therefore,
the City of Rochester is liable, due to the illegal and unconstitutional policies practiced.
X. lNJUNCTION
Defendants’ policies, practices, conduct, acts and omissions alleged herein have
resulted, and will continue to result in, irreparable injury to this plaintiff for which
there is no plain, adequate and speedy remedy at law. In particular, this plaintiff
continues to suffer harm as a result of the continuing existence of the public record
“Mental groblem”, that is false and damaging to this plaintiffs professional counseling
career. Therefore, this plaintiff seeks injunctive relief restraining defendants from
falsifying public records, misleading citizens and violating the procedural due process
system. Finally, requiring defendants to seal and destroy the false public records and
replace with the correct and accurate information immediately. And the right to file
a felony complaint through the proper procedural due process, according to the

U.S. Constitution and fourthteenth amendment

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Xl. DOCUMENTS FOLLOWING TO CORROBORATE THE FACTS

42.) page-19 [Exhibit-Al] Civil Rights Pro se complaints-28 section 1343 Jurisdiction.

43.) page-20 Official public records tampered with showing defamatory statement and

false codes, [Exhibit-A].

44.) pages-21t026. Official 911/311 transcripts from 10/30/05 & 05/31/06 of defendant

' Maria Graves, lying, depriving due process rights and misleading [Exhibits-B&C ].

45.) pages-27t028 Notices of civil rights complaint and warning to supervisor 05/24/06

& 05/31/06, [Exhibit-D].

46.) page-29. Letter from District Attomey dated November 1, 2005, [Exhibit-E].

47.) pages-30to33 of Certified mail receipts to public officials about the crimes,

[Exhibit-F].

48.) page-34 City of Rochester Records Access Response dated 10/25/2006,

[Exhibit-G].

49.) pages-35to38. Plaintiff 3-letters to District Attomey, [Exhibit-H].

50.) page-39 City of Rochester Records Access Application, [Exhibit-I].

51 .) page-40 lncident History document that the Rochester Police Department stated was
the M record recorded on file, prior to the Freedom of Inforrnation Act letter dated
10/11/06, [Exhibit-J].

52.) page-4l. PATS Inquiry Systems letter dated 10/l 1/2006, [Exhibit-K].

53.) pages-42to43. Police Information Clerk Job Description & Qualifications,

{Exhibit-L].
54.) page-44. 31 1 Police Special Programs, [Exhibit-O].

55.) page-45 Rochester Police Department request not supplied concerning

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Police Inforrnation Clerk’s full name for lawsuit, [Exhibit-P].

56.) pages-46to47. Rochester Police Department request for telephone number 428-9800,
name, rank, and position or title accountable individual(s) on 5/31/06, [Exhibit-Q].

57.) pages-48t056. Rochester Police Department e-mails to City Hall about requested
inforrnation, concerning Police Inforrnation Clerk’s full name, [Exhibits-R].

58.) page-57.'F ederal Constitution & State Constitutions, [Exhibit-S].

59.) pages-58 City of Rochester Records Access Response dated 12/15/06. [Exhibits-T].
60.) page-59 Appeal concerning Police lnformation Clerk’s name for Lori Bishop &
mystery defendant who took my call on 5/31/06. [Exhibit-U].

61 .) page-60 Signature, Notary Public, Date, Plaintiff Demand & defendants

employment addresses

STRICT COURTS_JURISDICTION Part 4

~ant de- conclusionary allegations of constitution.
;as stat- al deprivation. Comtronics, Inc. v. Puer.
unction to Rico Telephone Co., D.C. Puerto Rico
and in- 1975, 409 F.Supp. 800, affirmed 553 F.Zd
»f prior 701.
mem °f Complaint which contained no allega.
Lm€ti°n- tions of facts that defendants subjected
3X~1970» plaintiff to unreasonable arbitrary or in-
vidious discrimination, or that he was
lenial of deprived of his constitutional rights un.
ibstitute der U.S.C.A.Const. Amends. l, 5 and 6,
1983 of was insufficient to show case arising un.
ction of der Constitution, laws or treaties of Unit-
)neously ed States notwithstanding conclusionary
janty v. allegations of federal jurisdiction. Oes-
).C.N.Y. tereich v. Selective Service System Local
Bd. No. 11, Cheyenne, Wyo., D.C.Wyo.
- ~ 1968, 280 F.Supp. 78, affirmed 390 F.Zd
ilgct;:ing:l 100, reversed on other grounds 89 S.Ct.
m comm 414, 393 U.s. 233, 21 L.Ed.zd 402.
Of Civil 48. -_ Conclusory allegations
on fed' Mere conclusionary allegations, no
lcti°n to matter how strongly worded. are not suf-
9 Cancel ficient to establish Civil Rights Act juris-
Val“e °f diction, particularly when they refer to
miff did intended future conduct. Comtronics,
ion and Inc. v. Puerto Rico Telephone Co., DC.
Cumem$ Puerto Rico 1975, 409 F.Supp. 800, af-
1 w_hi¢_h armed 553 F.zd 701.
:_`Zli::::l 49. -_ Failure to state claim
[1. Fact that the complaint might have
failed to st_ate a cause of action under the
general federal question jurisdiction did
3d a SEI'- not preclude the court from exercising
fly taken jurisdiction where jurisdiction had been
i respect properly established on the basis of a civil
HS CRS€S rights claim. Gay Student Services v.
li'->DOI`t Of Texas A. & M. University, C.A.S(Tex.)
lege that 1980, 612 F.zd 160, rehearing denied 620
.it“tiOIlal F.Zd 300, certiorari denied 101 S.Ct. 608.
tandards 449 U.S. 1034, 66 L.Ed.Zd 495.
constm“' Civil rights jurisdiction is unavailable
arson Y' in the absence of an appropriate cause 0
t‘ L,°“ls action; failure to state a claim und¢l'
(an') various civil rights statutes or other aP'
propriate legal authority has the effect Of
ciSiOn of depriving federal court of subject matter
n as 10 jurisdiction. Campbell v. Gadsden COl-\n'
ions was ty Dist. School Bd., C.A. 5 (Fla.) 1976.
tion was 534 F.Zd 650, rehearing denied 539 F~zd
s district 710. y
Cmess of Where complaint raised federal q\_l¢‘° 'r'l
C'A~ 10 tion, the mere claim conferred suli)]¢‘:t 4'
matter jurisdiction on the district'CO\m'
.al depri- notwithstanding that complaint failed w \
)n under state claim upon which relief could l
rst deter- granted. Mirin v. Taxi Cab Auth°!'lfy7l ”
pport the Clark County, Nev., C.A. 9 (Nev-) 19
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Ch. 85 ClV!L RlGHTS, ETC.

441 F.Zd 1123, certiorari denied 92 S.Ct.
240, 404 U.S. 914, 30 L.Ed.Zd 188.

Where plaintiffs failed to state a cause
of action under the federal civil rights
statute, district court did not have juris-
diction over their purported claim under
;h¢ section which provides jurisdiction

for actions authorized by law. Becker v. -`

E\'ans, D.C.Pa.1979, 478 F.Supp. 729.

For federal court to determine whether
it has jurisdiction under civil rights juris-
diction statutel court, of necessity, must
first determine whether plaintiff has stat-
ed cause of action under civil rights stat-
ute creating cause of action for state ac-
tion which violates person's constitution-
al rights. Haldorson v. Blair, D.C.Minn.
1973, 449 F.supp. 1025.

Where complaint failed to state a claim
upon which relief could be granted as to
any federal civil rights statute, jurisdic-
tion was not established under statute
providing for redress of statutory civil
rights violations Weaver v. Haworth,
D.C.Okl.1975, 410 F.Supp. 1032.

Whether complaint states claim under
§ 1983 of Title 42 on which relief can be
granted is not question of jurisdiction,
but rather viability of claim stated can
only be decided after court has assumed
jurisdiction. Kerrigan v. Boucher,
D.C.Conn.1971, 326 F.Supp. 647, af-
lirrned 450 F.Zd 487.

Whether complaint states a cause of
action on which relief can be granted
must be decided after and `not before the

~ court has assumed jurisdiction over the

controversy. McClellan v. Shapiro,
D.C.Conn.1970,_315 F.Supp. 484.

When jurisdiction is alleged under this
section and defendant moves to dismiss
e district court should ordinarily as-
Sume jurisdiction and then determine
Whether or not the complaint states claim
on which relief can be granted. Morey v.
independent School Dist. No. 492,
D.c.Minn.1969, 312 F.supp. 1257,
adopted 429 F.zd 428.
Federal district court is expressly vest-

_ with jurisdiction to protect against any
mf"mg€ment of federal civil rights by any
gale law or regulation, and this jurisdic-
c°n 'S'not defeated by possibility that
°'l‘Plamt might fail to state a cause of
.°“°n; question of whether complaint
95 cause of action must be decided

. eli and not before, court assumes juris-
€uon. Olson v. Board of Ed. of Union

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28 § 1343

Note 51

Free School Dist. No. 12, Malveme, New
York, D.C.N.Y.1966, 250 F.Supp. 1000,
appeal dismissed 367 F.Zd 565.

It is better rule for court to assume
jurisdiction of actions under §§ 1983 and
1985 of Title 42 and then to consider
claimed deficiencies on ground that com-
plaint failed to state claim upon which
relief can be granted. Campbell v. Glen-

'wood Hills Hospital, Inc., D.C.Minn.

1963, 224 F.supp. 27.

If this section is invoked specifically by
plaintiff, district court has jurisdiction
whether or not she has successfully stated
a claim under § 1983 of Title 42. Griffin
v. Abbott, D.C.'l`enn.1975, 68 F.R.D. 241.

50. _ Pro se complaints

Court must examine pro se civil rights
complaint to see whether the facts al-
leged, or the set of facts which the plain-
tiff might be able to prove, could provide
the basis for recovery under any of the
Civil Rights Acts or under the heads of
jurisdiction in the federal arsenal for re-
dress of constitutional deprivations and
the court, in considering motion to dis-
miss, may not permit technical pleading
requirements to defeat the vindication of
any constitutional rights which the plain-
tiff alleges, however inartfully, to have
been infringed. Canty v. City of Rich-
mond, Virginia, Police Dept., D.C.Va.
1974, 383 F.Supp. 1396, affirmed 526
F.Zd 587, certiorari denied 96 S.Ct. 802,
423 U.S. 1062, 46 L.Ed.Zd 654.

51. _- Amendment

Where jurisdiction was asserted under
civil rights jurisdictional statute and
Court of Appeals found jurisdiction under
federal question jurisdictional statute
which was not specifically pleaded in the
complaint, there was no need to remand
to amend the pleadings to specifically al-
lege the latter statute since it could be
assumed that the complaint was amended
to conform to such finding. Wn'ght v.
Arkansas Activities Ass’n (AAA),
C.A.8(Ark.) 1974, 501 F.Zd 25.

Where petition for order commanding
state prison officials to desist from inter-
fering with prisoner's right to use mails,
and claiming that prisoner was being de-
nied right of access to courts and had
been subjected to reprisals for seeking to
acquire counsel to assert civil rights was
vague and general and lacked particular-
ized statement of background facts and
conduct but alleged nonfrivolous matters

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Case 6:06-cv-06634-I\/|AT Document 1 Filed 12/21/06 Page 21 of 61

Track l - 10/30/05
Officer: 3-1~1 Officer Graves may I help you?
Darryl: Yeah, I didn’t know whether, I’m filing a complaint. I didn’t know

whether to call 9-1-1 or 3-1-1 I was told I could call either one. So, maybe you could
help me out.

Officer: Okay sir, could you tell me what type of complaint you have?
Darryl: Pardon?

Officer: Why don’t you tell me what the problem is?

Darryl: Um, it’s a perjury, tampering with physical evidence and conspiracy

complaint against my former employers.

Officer: Okay, why don’t you explain the situation and then I can see if we can
take it here.
Darryl: Um, all right it’s got to do with um two defense, actually they were um

administration I reported two incidents that happened with one of my parolees, I was a
parol counselor. Um one, I report two incidents with my parolee messing with one of the
counselors. They uh they covered that up and they terminated me illegally and when I
went to the unemployment hearing they lied, perjured themselves several times under
oath. Uh, they tampered with physical evidence and conspiracy with these same four
people that were involved with my termination were also involved in my uh, the uh my
parolee concert cover up. So I over on the avenue and I was just told that District
Attomey’s office Mike Greene, Ibeen, he’s been in touch with me throughout this whole
thing to file a complaint through the police. So that’s what I’m doing.

Officer: Okay sir what is your name?

Darryl: Darryl Allen.

Officer: Where do you live sir?_

Darryl: I live at two twenty eight Nichols Street.

Officer: N-I-C-H-O-L-S?

Darryl: Right. The um, the address is hidden but the house is freakin bushes that

need to be trimmed.

Officer: Okay and I’m sorry your last name?

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Case 6:06-cv-06634-I\/|AT Document 1 Filed 12/21/06 Page 22 of 61

Darryl: Allen A~L-L-E-N.

Officer: And spell your first name for me.

Darryl: Um, D-A, D-A-R-R-Y-L and my middle initial is A because I usually, it’s
Darryl A Allen that’s how I, uh, that’s how it’s spelled. Or that’s how I write it.

Officer: Your phone number sir?

Darryl: It’s three three eight nine six two one.

Officer: Okay, we’ll send someone out to your house.

Darryl: Thank you.

Officer: All right Bye-Bye.

Darryl: Bye.

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Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 23 of 61

UN|F|ED COURT SYSTEM OF THE STATE 0F NEW YORK
TRANSCR|PT|ON SERV|CE AGREEMENT

|, Denise LaDe|ia certify that the foregoing transcript of proceedings in the

311 Te|ephone Ca||s was prepared using standard electronic equipment and is a
true and accurate record of the proceedings.

/
Signature § WC\:[`? M/ 1151 123

Agency Name (if applicable)
, Execu$cnbe, mo
Address of |ndividual or Agency 1320 University Avenué
Rochester, New York 14607

 

Date lliQ&(O\o

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Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 24 of 61

Track 2 - 5/31/06

Officer: 3-l-l Operator Graves may I help you?

Darryl: Yeah, I’m trying to, they said an officer was going to talk to me.
Officer: I’m sorry sir‘?

Darryl: They said an officer was going to talk to me.

Officer: l am an officer how may I help you?

Darryl: Okay yeah I wanted to file a felony complaint, I’d like that officer to

come to my house.

Officer: Okay so you need to tell me what is going on first before we decide if it’s
a felony complaint and how it needs to be handled.

Darryl: Um, it was, its unemployment hearings on March twenty fourth two
thousand four. It was a perjury against me tampering with physical evidence and
conspiracy. And I’ve been working in this for the longest time but people trying to block
my constitutional rights. I informed Mayor Duffy last to week to let him know what is
going on and I sent something to the Rochester Police Department. I tried to do this back
in November and a police officer blocked my constitutional rights. So, I’m trying to do
this again.

Officer: Okay well sir you need to get a hold of the original officer that you spoke
with.
Darryl: Uh, I don’t think I can get in touch with him because I filed a formal

complaint against him.
Officer: Okay.
Darryl: I need to talk to someone else.

Officer: Well then I think you should start with an investigator and see if you have
any charges that can actually be filed.

Darryl: Um, I do have charges I have stuff in F ederal Court right now.

Officer: Okay sir that’s all great but that’s not a determination to make okay. So I
will give you a number to call.

Darryl: Okay.

25

Case 6'O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 25 of 61

Officer: F our two eight nine eight zero zero. And you can speak to an investigator.
Darryl: Nine eight zero zero?

Officer: That is correct.

Darryl: Well what classifies as far as, as far as I have definite, definite direct

evidence that there’s been a crime committed What I mean,

Officer: Sir?

Darryl: Yeah?

Officer: There are clear classifications and I’m not going to go through them with

you because you need to speak with an investigator if you, if these charges are federal
offenses, this is perjury and what not okay?

Darryl: Uh, it was done in uh, it was done in New York State Court.
Officer: Okay well have a nice day and I gave you the number all ready.
Darryl: What’s your name?

Officer: It’s officer Graves.

Darryl: Officer what?

Officer: Graves.

Darryl: Graves?
Officer: Yes.
Darryl: Can you spell that?

Officer: G-R-A-V-E-S

Darryl: R-A, what?

Officer: V-E-S.

Darryl: V-E-S. Graves. Officer Graves?
Officer: For the third time, yes sir.
Darryl: Pardon?

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Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 26 of 61

Officer:
Darryl:
Officer:

Darryl:

Yes sir.
Yes sir.
Have a nice day.

Okay bye.

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Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 27 of 61

UN|F|ED COURT SYSTEM OF THE STATE OF NEW YCRK
TRANSCR|PT|ON SERV|CE AGREEMENT

|, Denise LaDe|ia certify that the foregoing transcript of proceedings in the
311 Te|ephone Cal|s was prepared using standard electronic equipment and is a
true and accurate record of the proceedings.

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Signature \ am 115 Oé\i 511/eau

Agency Name (if applicable)

EXSCUSCribe, |nc_

venue
Rochester, New York 14607

Address of lndividual or Agency

 

Date \\\;§3[0(0

Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 28 of 61

May 24, 2006

Rochester Police Goodman Section
262 Waring Road
Rochester, New York 14614

Dear supervising Rochester Police Officer,

I am filing a formal civil rights complaint to the supervising Rochester Police Officer for
Officer Ross, I will follow-up with my felony complaint to the appropriate and professional
police officer that will take me serious and do his job by law. At this particular time, I do not
intend to take any F ederal action against the Rochester Police Department or Officer Ross for
civil rights violations, providing my rights are not blocked again. Furthermore, my felony
complaint was also recorded on 911. Officer Ross’s actions influenced my lawsuit in
November 2005. Finally, Mayor Bob Duffy has been informed about Pre-Trial Services
Corporation corruption and has this Federal Court information Thank you.

Sincerely,

Darryl A. Allen, M.S.Ed.

Xc: Officer Ross
Mr. Green, District Attorney
Mayor Bob Duffy

28

Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 29 of 61

May 31, 2006

Rochester Police Department
185 Exchange Boulevard
Rochester, New York 14614

Dear Sergeant Lori Bishop,

civil rights violations, providing my rights are not blocked again. Furtherrnore, my felony
complaint was also recorded on 91 1. Officer Ross’s actions influenced my lawsuit in
November 2005. Finally, Mayor Bob Duffy has been informed about Pre-Trial Services
Corporation corruption and has this F ederal Court information Thank you.

Sincerely,

Darryl A. Allen, M.S.Ed.

Xc: Officer Ross
Mr. Green, District Attomey
Mayor Bob Duffy

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Case 6'O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 30 of 61

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MicHAEL c. GREEN H°°HES,TE°~N'EW Y°"K “6“ KENNETH c. HvLAND
DlSTRlCT ATYORNEY n FlRST ASS|STANT DlSTRlCT ATTORNEY
LARRY K. BERNSTEiN
SECOND ASSFSTANT DISTRlCT ATTORNEY
November l, 2005

Mr. Darryl A. Allen
228 Nicholas Street
Rochester, New York 14609

Dear Mr. Allen:

Thank you for your letter of October 23, 2005. From the information you provided me, 1 do
not see any evidence to support your claim that a crime has been committed.

 

Monroe County District Attomey

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. Page 35 Of 61
1 Filed 12/21/06
_ _ 4_|\/|AT Document
Case 6.06-cv 0663

 

City of Rochester

§§ Records Access Response

Communications Bureau, 30 Church St. RM 202A, Rochester, NY 14614

TO: Darry| Allen 10/25/2006

P.O. Box 90927
Rochester, NY 14609

RE: Your Records Access Request, REFERENCE #: 29581

Received by the City on: 09/29/2006
Requesting information about:

228 Nicho/s St..' recording of 10/30/05 call & 5/31/06 ca/I,' name
of operator who took calls and supervisor at time of calls

STA TUS: Your records access request has been approved.

Thank you for your total payment of $2.00 for disk you received on
October 20, 2006 and the disk you received on October 25, 2006.

The operator who took both calls was Maria Graves. The supervisor
during both calls was Sgt. Daniel Holmsten.

¥ours truty,

Ga G. Walker
Records Access Officer

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35

` 36 of 61
Case 6'06-cv-06634-I\/|AT Documentl Fl|ed12/21/06 Page

January 16, 2005

Mike Green, Distn'ct Attomey
47 South Fitzhugh Street
Rochester, New York 14614

Sincerely,

Darryl A. Allen, M. S. Ed.

36

` 37 of 61
Case 6'06-cv-O6634-|\/|AT Documentl Fl|ed12/21/O6 Page

October 23, 2005

Mike Green, District Attomey
47 South Fitzhugh Street
Rochester, New York 14614

Dear Mike,

that you are preoccupied every time, I am not attempting to get any special favors or treatment
because I do not work that way; I am strictly about business and by the law. It has been quite

and I have endured.

in a court of law. Mike these individuals committed a minimum of 5-felon acts according to
the penal law and need to be held accountable for those crimes. These are not violations or
misdemeanors but felonies and they have caused great pain to my family and I will not let this

37

Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 38 of 61

The mortgage company for the house will probably be posting an eviction notice on the front
door in November 2005. The only place my children and me will be able to go is to my
parent’s home in Henrietta and my son will have to enroll in a different school.

My daughter will continue attending the School of the Arts for graphic arts regardless
because I will not allow her career opporturuty to be ruined through these lies and injustice

My father and both Dave & Dan have been financially assisting me throughout this entire
ordeal not to mention receiving food stamps. This could happen to anybody at any time in
their lives for just doing their job and being honest. I hold the legal evidence to prosecute these
individuals according to the penal law by law and it is my right to do so.

Finally, Mike I hope your office could treat my case with the same attention as to the under age
drinking party crimes that has been in the media The news media has been made aware of my

have been pursuing my case for the past 3-years directly through the civil courts and all of their
politics, which should have been handled through the criminal courts in the first place.
However, this is now my main focus to prosecute these individuals in criminal court because
they committed serious felony crimes punishable by law against my family and me and there is

no defense for peljury, which will eliminate any cover-ups or politics involved. Mike I would
resolve this matter quickly and it will avoid me bothering you at your office I will not stop
pursuing this matter and will use any legal means necessary until justice has been served in a
court of law. Thank you.

Sincerely, my phone-# 338-9621

Darryl A. Allen, M.S. Ed. Enclosures

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` of61
Case 6'06-cv-O6634-|\/|AT Documentl Fl|ed12/21/O6 Page 39

November 5, 2005

Mike Green, District Attomey
47 South Fitzhugh Street
Rochester, New York 14614

Sincerely,

Darryl A. Allen, M.S.Ed.

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BCaSeGin-of-Eimehaster Documem 1 Filed 12/21/06 Page 40 of 61

V€ RECORDS ACCESS APPL|CAT|GN

 

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l hereby apply to inspect[] and l or copy i:] ,
the following record(s): C|a|m #

 

 

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A`;Z’M")/_§' /L§ L\
R€fum completed application for There rs a 25¢ per page charge for copying most records.
Records Access Otllcer For more information on public access to records.
Bureau of Communlcatlons call ()585 428-6066.
cny Hau, 30 church street nom 202A ~>_< f=€ f/¢a'gf=-.
Rochester, Newvork14614-12s7 M M{j
or FAx ro: (sas) 428-ross walz/0
FOR AGENCY USE 0NLY
[:] Approved
m Pama"l' APP"°Ved Records Access Officer
m Denied
[i Record not maintained by the City Date
FOR APPEAL 0NLY

l hereby appeal:

lf you wish to appeal the Hecord Access Ocher's decision
on your application for public access to records, sign

 

below and send this form within 30 days to:

CorPoration Counsel / Signature
City Hall. 30 Church Street, Room 400A

 

39 Rochester, New York 14614-1295 Date

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lncident History for:

Case Numbers. CQ$QYY@§3@¥

Entered
Dispatched
Onscene

Closed

Initial Type:

10/30/05
10/30/05
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FORGB

Initial Priority: 2
Disposition: 40 78

Police
Group:

Name 2

Wireless Latitude:

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12:48:46 BY TSOZ 810614
12:49:34 BY PD12 7180
12:56:48

13:58:05

Final Type= FoRGB (REPORT - (1 UNIT))
Final Priority: 2

Source: 9 Primary Unit: 2522

Fire BLK: 002416 EMS BLK: 048004

Beat: RP25 Wrecker Zone: 1200 Map Page: 1200 Node: 11122
Loc: 228 NICHOLS ST ,ROC btwn FERNWOOD AV & NORTHLAND AV <200> (V)
Loc Info:

DARRAYL ALLEN

3180569
ENTRY
DISP 2822
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CLOSE 2522

Phonel:
Addr: 228 NICHOLS ST PhoneZ: 338-9621
Longitude: 7581090 Confidence:

COMPL STATED THAT HE IS A PAROLE OFFICER WHO WAS
FIRED AND WOULD LIKE TO PRESS CHARGES AGAINST H
IS FORMER EMPLOYERS FOR FORGING DOCUMENTS AND LY
ING UND ER OATH.

#810885 HAMILL, SCOTT D.

$CTYPOS335169

#810870 ROSS JR., VIRGIL
2522 T/3B

DSP: 40 78

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` 42 of 61
Case 6'06-cv-06634-I\/|AT Documentl Fl|ed12/21/06 Page

October 1 l, 2006

Chapter LX NEW YORK STATE 911 BOARD-Section 5203.2
Public Safety Answering Point (PSAP)
To Whom It May Concern:

NOTE: Section 5203.2 Equipment.
(e) Recorder system. The authority shall:

(3) have a written policy for the securing and storage of recordings;
(4) establish criteria, and have a written policy for, access to recordings;
(5) maintain a schedule for retention of PSAP recordings; and
(6) ensure that instant playback units are located at all call-taker positions.
(f) Call detail record. All PSAPs shall have the capability to provide an automatic call

detail record (ACDR) of every emergency call received, either by recording equipment
or CAD log.

Sincerely,
Darryl A. Allen, M.S.Ed. Darryl A. Allen
P.O. Box 90927
Xc: Joseph C. Fratta Rochester, NY 14609

Mayor Bob Duffy
Mr. Green, District Attomey
Sergeant Lori Bishop §

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|lWANT TO.... v| lServices by Name vl IServices by Department '| llndex ~I l

Job Opportunities with the City iei¢kmisingsi
listing Type: Exam Announcement
Job Title: POL|CE lNFORMATlON CLERK
Exam No`: OC-62746
Job Type: Ful| Time
Salary Range: $26,327 - $32,239
Exam Date: 09/09/2006
Application Fee: $15.00

Application 08/11/2006 (A,op/ir:ations must be received or post marked t)y this date )
Deadline:

Candidates must record Examination Number and Job Title on the Application.
Al| exams require a non-refundable $15.00 application fee due by final filing date.

W…~.____m_m.mmw_w_.,mm...,.. ..n...~_,_._.._*MM,,W_“W"_,.

Employment/Exam Application l Exam Application Fee State-ment form

         

 

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MlNll\/|UlVl OUALIF!CATIONS:
High school diploma* or G.E.D.* AND

Two (2) years full time clerical experience which includes six (6) months operating a keyboard such as but not
limited to a typewriter or word processor.

*Candidates Who expect to receive this degree or diploma by August 1, 2007, may participate in the
examination lf successful on the examination you will not be certified for appointment until you have submitted
proof of completion of the requirements to the City of Rochester Examination Administration unit. Proof must be
submitted no later than 2 (two) months after the completion of your degree or diploma; failure to do so will result
in removal of your name from this list.

SPEC|AL REQU|REMENTS:

Must be available and willing to work all shifts as assigned
Must have satisfactory police records and background check.
Must pass a hearing test.

DESCR|PT|ON OF DUTlES:

This is a clerical position in the Rochester Police Department `i'echnical Support Section involving the quick and
accurate gathering and transmittal of information for police officers and other law enforcement personnel
Employees work under the direct supervision cfa l_ead Police information Clerk and a police supervisor.
Related work is done as required

`TYPlCAl_ WORK /-\CTl\/lTlES;

Receives and transmits information to law enforcement personnel/agencies via 2»-Way radio, telephone and
teletype.'

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http://Www.ci.rochester.ny.us/bhrm/brhmPostingDetail.cfm?id=245

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Case

Responds to requests for information received by mail from poii'ce/militaiy agencies and from law enforcement
personnel on a walk-in basis;

Logs incoming calls from 2»way radio per FCC regulations

Enters, deletes, corrects, verifies, and retrieves information into various computer systems using teletype
information codes and reference materials:

Gathers and verifies information quickly and accurately by searching various sources such as computers
teletype, photograph files, card files and reference books:

Checks, verifies. compares various forms, files and reports for coding, completeness correctness and
duplications;

Types information for files and data for Court Docket when computer is not functioning;

Adds information to and sets up files

SCOPE OF THE EXAMINAT|ON:

This is a written test is designed to evaluate knowledge skills and/or abilities in the following areas:

1. Clerical operations with letters and numbers-These questions test your skills and abilities in clerical operations
involving alphabetizing, comparing checking and counting The questions require you to follow the specific
directions given for each question which may involve alphabetizing, comparing, checking and counting given
groups of letters and/or numbers

2. Coding/decoding information-These questions test your ability to use written directions to code and decode
information accurately You will be asked to apply sets of coding rules to code information and to interpret coded
information Comp|ete directions will be provided; no previous knowledge of or training in any coding system is
required

3. Principles and practices of customer service~These questions test for the ability to provide constructive
courteous and effective customer service and assistance Ouestions will cover such topics as dealing with
customers who have a wide variety of needs problems personalities and/or familiarity with the system, and
acting in a positive and effective manner as the customers first and primary contact in the conduct of agency
business.

4. Name and number checking-These questions test your ability to distinguish between sets of words |etters,

and/or numbers that are almost exactly alikel Material is usually presented in two or three columns. and you will
have to determine how the entry in the first column compares with the entry in the second column and possibly
the third. You will be instructed to mark your answers according to a designated code provided in the directions

5. Understanding and interpreting written material»-~"l"hese questions test how well you comprehend written
material. You will be provided with brief reading selections and will be asked questions about the selections All
the information required to answer the questions will be presented in the selections; you will not be required to
have any special knowledge relating to the subject areas of the selections

The Use of Calculators is ALLOWED for This Exam, Candidates are permitted to use quiet, hand-held solar or
battery powered calculators Devices with typewriter keyboards "Spell Checkers'\ "Personal Digital Assistants".
"Address Books", "Language Translators", "Dictionaries", or any similar devices are prohibited

RAT`|NGI

This examination will be rated in accordance with section 23.2 of the Civil Service Law. The provision of the
NYS Civil Service Rules and Regulations dealing with the rating of examinations will apply to this exam_

VVE|GHT;

The written exercise will contribute 100% to the final score

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Police

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o About Us c What’s New o Join Us c Quattom? a

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Services
311

Special Programs

Specia| Programs

Here are some special programs offered by the Rochester Police Department. For a
complete listing of all our services, please see About Us:

Crimestoppers

Crimestoppers encourages individuals to call in with information regarding felony crimes
and wanted felony fugitives in the Rochester area. Crimestoppers will keep a caller’s
identity anonymous and pay rewards of up to $1,000 for information that leads to an arrest
and indictment of the suspect Crimestoppers airs on a local television station a Crime of
the Week and three (3) wanted felons from the Rochester area. Crimestoppers also
publishes wanted felony fugitives in the Gannett Newspaper. ln addition, Crimestoppers
oversees the Drug and Gun Hot|ines.

Drug Hot|ine: (585) 428-6000

This program was established to solicit information on known and unknown drug locations
and dealers in the City of Rochester. The information received is then fonivard to the
Narcotics Unit for follow-up investigations Cailers are given the opportunity to remain
anonymous or give their name and telephone number so that the investigator can contact
them if needed or desired. The phone is staffed by graduates of the RPD Citizen Police
Academy Monday - Saturday, 4:00 PM to 10:00 PM. Other time's calls are transferred to
the RPD dictaphone system.

Gun Hot|ine: (585) 428-6000

This Hotiine is intended for citizens to call and give information regarding those individuals
in our community that they know to possess or deal in illegal firearms The Gun Hot|ine is
staffed as is the Drug Hot|ine. .

PAC-TAC

The Police and Citizens Together Against Crime (PAC-TAC) Program has existed in one
form or another in Rochester for over 20 years |nitial|y, officers and volunteer citizens
patrolled neighborhood streets on foot, being attentive to potential criminal activity and
interacting with residents and merchants Eventually this program has evolved to its
present form, in which citizens patrol their own neighborhoods in pairs. While a police
officer is not walking with the volunteers , they are supervised by an on-duty patrol officer
or crime prevention officer as they walk their neighborhoods At| volunteer citizens receive
extensive training and are issued distinctive clothing (usually a shirt orjacket). a flashlight
and a portable radio which has all of the frequencies that patrol officers use. |f the
volunteers spot criminal activity, or are in need of other assistance, they can summon an
officer via radio. |n addition to foot patrols, some patrol sections have bike patrol PAC-TAC
as we|l. Contact the Crime Prevention Officer in your local NET office for more information
and or an application

Police Exp|orer Post 655

The Police Exp|orer Post is an organization established with support of the Boy Scouts of

America. 0

its purpose is to offer young men and women insight into the field of law enforcement

 

Case 6:06-cv-06634-I\/|AT Document 1 Filed 12/21/06 Page 46 of 61

December 6, 2006

On December 5 , 2006 at approximately 10:00a.m., this plaintiff talked with Joe Fratta
from City Hall. Joe informed me that the Rochester Police Department have not
answered the request for the name of the Police Infonnation Clerk as of yet.

“I don’t understand,” according to the Rochester Police Department’s e-mail.

Joe’s going to request that the requester {this plaintiff'} wants all e-mails from the
Rochester Police Department to City Hall about the requested information Joe Fratta
and this plaintiff are in agreement that the Rochester Police Department have not
supplied the information yet. This plaintiff is to contact Joe Fratta on Friday 12/8/06

conceming the information Joe stated that Sylvia is handling the request

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(Signatl.}re)

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Joe Fratta informed me b hone on 12/6/06 at 2:45 .m. ordered b his su rvisor not to
sng anyt_hing. Communications Records Access
(Signature)

 

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Sworn before me this
dayof S}gggn§§o', L,2006
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Notm/Pubiic l

 

  
 

 

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Notary Pub|ic, sweet New Yovl
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Case 6:06-cv-06634-I\/|AT Document 1 Filed 12/21/06 Page 47 of 61

Friday, December 08, 2006

Joseph C. Fratta, Communications Aide/Records Access
City of Rochester

Bureau of Communications

City Hall, Room 202-A

30 Church Street

Rochester, NY 14614-1290

Re: Freedom of Information Act Request

Dear Joe,

This is a request under the Freedom of Inforrnation Act 5 U.S.C. section 552.

I request that a copy of the following documents [or documents containing the

following infonnation] be provided to me: the Rochester Police Department name, rank,
and title or position for this telephone number 428-9800 on the day of May 31, 2006.
Further, all Rochester Police Department personnel who had access to 428-9800 on

May 31, 2006 between 8:00a.m. to 5 :00p.m. The name, rank, and position or title for
each individual on this date and time, In addition, all the Rochester Police Department
personnel that are gathering this request, their names, rank, and position or title to ensure
a clear path and no misunderstandings for all involved. This information is being sought
for personal use. I am willing to pay fees for this request up to a maximum of $MQ. If
you estimate that the fees will exceed this limit, please inform me flrst. If you deny any

part of this request, please cite each specific reason that you think justifies your refusal

:`\r
:Q

Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 48 of 61

to release the information and notify me of appeal procedures available to me under the
law. If you have any questions processing this request, you may contact me at the
following telephone number (585)-427-8624 or P.O. Box 90927, Rochester, NY 14609.

Thank you for your consideration of my request Note: give a copy of this letter to
R.P.D.

Sincerely

  

Xc: Rochester Police Dept.
U.S. District Court of
Westem New York

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Sworn to before me this g

day Of QOV~.`)C:;X
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‘ Notary Public

 

KONN|E M, COLLlN$
Notary Publio, State of New Yo*
*-:4~,/ Commission Expires Nov. 20, QO_Q

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Case 6:O6-cv-O6634-|\/|AT Document 1 Filed 12/21/06 Page 49 of 61 Page 1 ofl

Sylvia Rosello - #29931 - STATUS CHECK g 222 :

From: Sylvia Rose||o

To: Perez-Dunham, Margarita
Date: 12/1/2006 10:16 AM
Sub_'|ect: #29931 ~ STATUS CHECK
CC: Fratta, Joe

 

Last name of "PAT" at Police Information Clerk Lori Bishop's line.
Thanks

ll

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From: Margarita Perez-Dunham

To: Rosello, Sylvia

Date: 12/1/2006 10:25 am

Subject: Re: #29931 - STATUS CHECK

I do not understand
>>> Sylvia Rosello 12/01/06 10: 16 AM >>>

Last name of "PAT" at Police Information Clerk Lori B|shop's line.
Thanks

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Joe Fratta - FOIL #29931: STATUS? 2

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From: Joe Fratta

To: Perez-Dunham, Margarita
Date: 12/5/2006 10:18 AM
Subjecl:: FOIL #29931: STATUS?
CC: Rosello, Sylvia

 

RE: On 5-31-06 at 11:21 AM Darryl Allen placed a call to 311. Dispatcher Maria Graves patched Mr. Allen

through to the Police Information Clerk for Lori Bishop who identitied herself as "Pat." Mr. Allen wants to know
Pat's last name,

Mr. Allen has been inquiring about the status of this request.

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From: Jeff Eichner

To: Rosel|o, Sylvia

Date: 12/6/2006 9:05 am

Subject: Re: Fwd: FOIL #29931: STATUS?

I guess I do not know where he got this.

>>> Margarita Perez-Dunham 12/5/200612:10 pm >>>
no Pat.

>>> Jeff Echner 12/05/06 12:00 PM >>>
We finally did find his call on a 311 tape and he got a copy. Do we have a PIC named Pat that may have been working that day?

>>> Margarita Perez~Dunham 12/5/2006 10:59 am >>>
Jeff, do you know what he is talking about?

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From: Jeff Eichner
To: Fratta, Joe; Perez,,Dunham, Margarita
Date: 12/6/2006 9:06 am
Subject: Re: FOIL #29931: STATUS?
CC: Rosello, Sylvia

Is this a secretary in an omce by any chance? Lori's oft`ice?

>>> Joe Fratta 12/5/2006 10:18 am >>>

RE: On 5-31-06 at 11:21 AM Darry| Allen placed a call to 311. Dlspatcher Man'a Graves patched Mr. Allen through to the Police
Information Clerk for Lori Bishop who identified herself as "Pat." Mr. Allen wants to know Pat's last name.

Mr. Allen has been inquiring about the status of this request

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via Rosello R_e=

 

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From: Margarita Perez-Dunham

To: Rosello, Sylvia ,

Date: 12/6/2006 11:59 am

Subject: Re: Request for Resolution (COM Freedom of Information System)
fax me 29931

>>> FOI Request System (Sylvia Rosello) 12/06/06 11:36 AM >>>
This is an E-mail generated from the COM Freedom of Information System. Please respond to the Communications
Office with resolution.

>>>> REFERENCE# 30005 (Date Received 12/6/2006) <<<<

REQUESTOR: Darryl Allen

PHONE: 427-8624

ORGANIZATION:

ADDRESS: PO Box 90927

REQUEST DESCRIPTION: all emails/interdepartmental correspondence concerning FOI #29931

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Sylvia Rosello - FOIL #29931: JEFF EICHNER'S ADVICE 22 z 3 :

From: Joe Fratta

To: Perez-Dunham, Margarita

Date: 12/7/2006 9:30 AM

Subject: FOIL #29931: JEFF EICHNER‘S ADVICE
CC: Eichner, Jeff; Rose||o, Sylvia

 

RE: Darryl Allen request: name of Police Information Clerk for Lori Bishop who took 311 call from Darryl Allen on
5/31/06 @ 11:21 AM

Jeff Eichner has advised to see if Eastside secretary "Pat" was the one who was taking calls for Lori Bishop on
the day and time in question. If so, we need to get her last name.

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!Joe Fratta - Fde Rei FQMQBOE-SWGBM-l\/|AT Document 1 Ei|ed 12721706 Page 56 OT 61 1|
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From: Jeff Eichner

To: Fratta, Joe

Date: 12/7/2006 5:02 pm

Subject: Fwd: Re: FOIL #29931: STATUS?

>>> Margarita Perez-Dunham 12/6/2006 11:55 am >>>
no, she ls in Research/Eva|uatlon

>>> Jeff Eichner 12/06/06 10:34 AM >>>
Is Lori east side?

>>> Margarita Perez-Dunham 12/6/2006 10:02 am >>>
The only Pat is the secretary at the east side ofiice...

>>> Jeff Eichner 12/06/06 9:06 AM >>>
Is this a secretary in an of|ice by any chance? Lori's office?

>>> Joe Fratta 12/5/2006 10:18 am >>>
RE: On 5-31-06 at 11:21 AM Darryl Allen placed a call to 311. Dispatcher Maria Graves patched Mr. Allen through to the Police
Information Clerk for Lori Bishop who identified herself as "Pat." Mr. Allen wants to know Pat's last name.

Mr. Allen has been inquiring about the status of this request.

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'JeFratta Re: FOL| ,". , -

 

9 lc=~ocument 1 Fneci 12/21/06 Page 57 or 61 page 1|

2??'5 /v

From: Margarita Perez-Dunham

To: Fratta, Joe

Date: 12/8/2006 8:54 am

Subject: Re: FOIL #29931: JEFF EICHNER'S ADVICE

ask him if he spoke to a male or female Pat

>>> Joe Fratta 12/07/06 9:30 AM >>>

RE: Darryl Allen request: name of Police Informalion Clerk for Lori Bishop who took 311 call from Darryl Allen
on 5/31/06 @ 11:21 AM

Jeff Eichner has advised to see if Eastside secretary "Pat" was the one who was taking calls for Lori Bishop on
the day and time in question. If so, we need to get her last name.

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Ch. z lNrRooucnoN ro LeeAL REsEARcH 13
i. Federal Constitution

Constitutions-create the_ framework of government and define'individual rights and
liberties. They 'are the highest primary authorities, and the Constitution of the United
States is the supreme law of the United States. Any federal case or statute, or any state
constitution, case, or statute that violates the U_.S. Constitution is 'unconstitutlonal.' An
unconstitutional law or rule is completely invalid. Thus, the Constitution should be your
first source in researching your case, and you should determine if a constitutional
provision is related to your case at the beginning of your research. The first ten
amendments to the Constitution (the “Bi|l of' Rights"), along with the Fourteenth
Amendment, are the most important parts of the Constitution for criminal defendants and
prisoners. They contain guarantees of individual rights and liberties. Of particular interest
are the First Amendment (freedom of speech), the' Fourth Amendment~(search and
seizure), the Fifth Amendment (grand jury indictment double jeopardy, self-incrimination,
due process), the Sixth Amendment (jury trials for crimes, procedural rights), and the
Eighth Amendment (excessive bail, cruel and unusual punishment). The Fourteenth
Amendment is also very important because it prohibits state governments from depriving
v you of life, liberty, or property without due process of law, and it guarantees the equal
§§ protection of law, Similar rights are guaranteed against the federal government through
the Fifth Amendment. The text of the Constitution can be_found in the first nine volumes of
the United States Code Annotated (U.S.C.A.).

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ii. State Constitutions

Each state has its own constitution. The text of the New York State Constitution can
g _¢ be found in the first few volumes of McKinney’s Consolidated Laws of New York
l z Annotated (McKinney's). Each state's constitution is supreme over all other laws of that
~ " state, including all statutes passed by the legislature and all cases decided in its courts.
State constitutions are not supreme, however, over federal law'.'State constitutions apply
only to state law. While many provisions of state constitutions are similar,to provisions
found in the U.S. Constitution, your state constitution may give you more rights than the
U.S. Constitution. Thus, you should consult your state constitution after reviewing the U.S.
Constitution. ‘

The U.S. Constitution and most state constitutions are found in “annotated" volumes.
Annotated volumes include the text of each constitutional provision and summaries of
cases that have interpreted them. Following the constitutional text is a section titled “Notes
of Decisions" which consists of case summaries grouped into separate legal points. There
is an index to those legal points at the beginning 'Qf each “Notes of Decisions" section. The
case citation“’ for the case being summarized follows the summary paragraph(s).
Annotated volumes also contain other research tools that can help a researcher. These
include cross-references to legal encyclopedias, relevant treatises. and the West “key
number system" (discussed later in this Chapter). Finally, ' annotated volumes often
contain summaries of legislative history, which gives you information about why a
particular legislation was passed. `

` - To find the relevant constitutional provisions for your case, use the constitutional index
, found at the back of the final constitutional volume.“ The methods by which one locates

 
   
  
  
 
 
 
 
  
  
  
 
 

 

' 13. » Case citations are discussed later ln this Chapte~_
_ _ _14.v _ Note that there i_s a separate index for the constitutional volumes of the U.S.C.A. A larger multi-
., v_o|ume paperback index is published for the rest of the U.S.C.A. volumes that refer to legislation, but that

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index does not contain any references to the Constitution.

 

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TO:

RE:

STA TUS:

b City of Rochester

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Records Access Response

® Communications Bureau, 30 Church St. FiM 202A, Rochester, NY 14614

Darryl Allen 12/15/2006

P.O. Box 90927
Rochester, NY 14609

Your Fiecords Access Request, REFERENCE #: 29931

Fleceived by the City on 11/21/2006
Requesting information about:

name of Police /nformafion Clerk far Lori Bishop Who fook
37 l call from Darryl A//en on 5/37/06 @ l l.'27 AM & /asf
name of Eastside secretary "Pat"

The Eastside secretary whose last name you have inquired about is
Patricia Colon. However, the City has no information indicating that it was
Ms. Colon who took the phone call from you on May 31, 2006.

The City has no record indicating the name of the person who took your
phone call on that date.

lt you wish to appea|, you must do so within 30 days in writing by
contacting Mr. Thomas Richards, Corporation Counsel, 30 Church Street,
Fioom 400A, Rochester, NY 14614-1295.

Yours truly,

,Q>»\awei-

Gary G. Walker
Flecords Access Officer

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Case 6:O6-cv-O6634-l\/|AT Document 1 Filed 12/21/06 Page 60 of 61

Tuesday, December 19, 2006

Mr. Thomas Richards, Corporation Counsel
30 Church Street, Room 400A
Rochester, NY 14614-1295

APPEAL

Dear Mr. Richards,

I made a request on 11/21/06 for the full name of the Police Inforrnation Clerk for

Sgt. Lori Bishop from 5/31/06. That request was never fulfilled and actually avoided.
The response I received dated 12/15/06 was avoidance and stall tactics. It took 25 days,
to not give the name of Lori Bishop’s Police Inforrnation Clerk, which I consider non-
compliant. Further, no record of the person who took my phone ca11 on 5/31/06, even
though it should be the same person. However, the Rochester Police Department has
already shown their corruption The lying and misleading appears to be a normal policy.
My theory is that, this individual or individuals knows they’re in trouble and don’t intend
to come forward voluntarily But, the information gathered from that person on 5/31/06
who stated their first name and title or position, came from that person only, at phone
number 428-9800. I didn’t pull the name “Pat” out of a hat or the other information on
record. Finally, Mr. Richards, I would appreciate my request being fulfilled or
investigated at once. Thank you.

Sincerely/

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C\ tila

. Allen, M.S.Ed.

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Darryl

Xc: U.S. District Court
of Westem New York

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Notary Public qu¢\md in Monroe County
My commission sw nanmoio
l. Mayor’s Office--City Hall, 30 Church Street
Rochester, NY 14614-1295
2. District Attomey, Mike Green ------------------------- 47 South Fitzhugh Street

3. District Attomey Investigator, Mike Fantigrossi----Rochester, NY 14614

4. Rochester Police Officer, Virgil Ross, jr.-----Rochester Police Department
5 . Rochester Police Officer Sgt. Lori Bishop----l85 Exchange Boulevard

Rochester, NY 14614 `

6. Rochester Police Officer, Maria Graves ---------- Office of Emergency Communications Center
7. Rochester Police Officer Sgt. Daniel Holmsten--321 West Main Street

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Rochester, NY 14608

